             Case 3:16-md-02741-VC Document 2603 Filed 01/30/19 Page 1 of 5



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     Co-Lead Counsel for Plaintiffs
16
                               UNITED STATES DISTRICT COURT
17
                             NORTHERN DISTRICT OF CALIFORNIA
18

19    IN RE: ROUNDUP PRODUCTS                          MDL No. 2741
      LIABILITY LITIGATION
20
                                                       Case No. 16-md-02741-VC
21
      This document relates to:                        PLAINTIFFS’ NOTICE OF
22                                                     MOTION AND MOTION IN
      Hardeman v. Monsanto Co., et al.,                LIMINE NO. 10 TO EXCLUDE
23
      3:16-cv-0525-VC;                                 EVIDENCE OF COLLATERAL
24    Stevick v. Monsanto Co., et al.,                 SOURCE PAYMENTS
      3:16-cv-02341-VC;                                INCLUDING HEALTH
25    Gebeyehou v. Monsanto Co., et al.,               INSURANCE
      3:16-cv-5813-VC
26

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         PLAINTIFFS’ MOTION IN LIMINE NO. 10 TO EXCLUDE EVIDENCE OF COLLATERAL SOURCE
                            PAYMENTS INCLUDING HEALTH INSURANCE
             Case 3:16-md-02741-VC Document 2603 Filed 01/30/19 Page 2 of 5



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2
     TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:
3
     PLEASE TAKE NOTICE THAT beginning on February 13, 2019 in Courtroom 4 of the United
4
     States District Court, Northern District of California, located at 450 Golden Gate Avenue, San
5
     Francisco, CA 94102, or as ordered by the Court, Plaintiffs will present their Motion in Limine to
6
     Exclude Evidence Regarding Collateral Source Payments Including Health Insurance. A
7
     supporting memorandum is filed herewith.
8
     Dated: 1/30/2019                                     Respectfully submitted,
9

10                                                        /s/ Aimee Wagstaff
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                                                          Plaintiffs’ Co-Lead Counsel
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         PLAINTIFFS’ MOTION IN LIMINE NO. 10 TO EXCLUDE EVIDENCE OF COLLATERAL SOURCE
                            PAYMENTS INCLUDING HEALTH INSURANCE
              Case 3:16-md-02741-VC Document 2603 Filed 01/30/19 Page 3 of 5



1
                         MEMORANDUM OF POINTS AND AUTHORITIES
2
            Plaintiffs hereby submit the following memorandum of points and authorities in support of
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     his motion in limine to preclude any mention of collateral source payments including Plaintiffs’
4
     available health insurance coverage, public assistance, Social Security payments, disability
5
     payments, and unemployment benefits.
6

7           A. The Collateral Source Rule Bars References, Evidence, or Argument Concerning
               Payments by Health Insurance, Public Assistance, Social Security, and
8              Unemployment.
9           The collateral source rule permits an injured person to recover damages from the
10   wrongdoer without reference to any payment the injured person may have received from a source
11   wholly independent of the wrongdoer. Neumann v. Bishop, 130 Cal. Rptr. 786 (1976) (citing De
12   Cruz v. Reid, 69 Cal.2d 217 (1968)). This includes payments by health insurance carrier, public
13
     assistance, Social Security, disability policies, and unemployment benefits. The collateral source
14
     rule is not only substantive, but evidentiary and, as such, evidence of payments made by an
15
     unconnected source, such as an insurance company, is inadmissible for the purpose of reducing
16
     recoverable damages. Howell v. Hamilton Meats & Provisions, Inc., 257 P.3d 1130, 1135 (Cal.
17
     2011). Evidence that the plaintiff was insured wholly or partially against loss arising from liability
18
     is “regarded as both irrelevant and prejudicial.” Neumann, 130 Cal. Rptr. at 799. Accordingly,
19
     “any attempt to inject it by question, suggestion, or argument is considered misconduct of counsel,
20
     and is often held reversible error.” Id.
21
            Further, “compensation for injuries received by an injured party from a source independent
22
     of the tortfeasor may not be deducted from the damages the plaintiff collects from the tortfeasor.”
23
     Garcia v. County of Sacramento, 126 Cal. Rptr.2d 465 (2002). The defendant may not present
24
     “evidence that the plaintiff’s medical expenses have been paid by an independent source.” Id. This
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26
     public policy ensures that “plaintiffs will receive the benefits of their decision to carry insurance

27   and thereby encourages them to do so.” Howell, 257 P.3d at 1135. Thus, evidence of insurance

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         PLAINTIFFS’ MOTION IN LIMINE NO. 10 TO EXCLUDE EVIDENCE OF COLLATERAL SOURCE
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              Case 3:16-md-02741-VC Document 2603 Filed 01/30/19 Page 4 of 5



1
     payments should never be introduced to a jury and to allow otherwise would severely prejudice
2
     Plaintiff and prevent him from receiving a fair trial. Hrnjak v. Graymar, Inc., 4 Cal.3d 725 (1971).
3
     As such, any statement, reference, inference or suggestion regarding Plaintiffs’ health insurance
4
     should be barred.
5
             B. Evidence of Plaintiffs’ Health Insurance Is Irrelevant And Highly Prejudicial.
6
             Evidence concerning Plaintiffs’ health insurance is highly prejudicial and grossly
7
     outweighed by potential, if any, probative value it offers. See Hrnjak v. Graymar, Inc., 4 Cal.3d
8
     725 (1971). It is likewise irrelevant to the central issue of causation in this phase of the trial. Indeed,
9

10
     it is likely that the jury would misuse or misinterpret any reference or suggestion to the existence

11   of a health insurance policy that potentially paid in whole or in part, for Plaintiffs’ medical

12   expenses. Id. at 733 (“[T]here is additional prejudice likely in permitting [Plaintiff] to be

13   characterized as a grasping person who is building up a lawsuit”) (internal citations omitted). Such

14   negative and disparaging reflection on character is unjustified merely because the Plaintiffs had

15   previously taken the precaution and demonstrated the prudence to purchase insurance coverage.
16   Id. Accordingly, evidence concerning the existence of any health insurance potentially available
17   to cover any or all of Plaintiffs’ medical bills must be excluded.
18   CONCLUSION
19           For the foregoing reasons, Plaintiffs respectfully request that this Court exclude the
20   evidence as requested.
21
     Dated: 1/30/2019                                         Respectfully submitted,
22
                                                              /s/ Aimee Wagstaff
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12                                                      Plaintiffs’ Co-Lead Counsel

13
                                    CERTIFICATE OF SERVICE
14
            I certify that on January 30, 2019, I electronically filed the foregoing document with the
15
     Clerk of the Court using the CM/ECF system, which will send notification of such filing to the
16
     CM/ECF participants registered to receive service in this MDL.
17

18
                                                        /s/ Aimee Wagstaff______________
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         PLAINTIFFS’ MOTION IN LIMINE NO. 10 TO EXCLUDE EVIDENCE OF COLLATERAL SOURCE
                            PAYMENTS INCLUDING HEALTH INSURANCE
